Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 1 of 29




                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1)    CARLY GRAFF,                                  )
                                                        )
   On behalf of themselves and all others               )
   similarly situated,                                  )       Case No. 17-CV-00606-TCK-JFJ
                                                        )       (Complaint - Class Action)
                          Plaintiffs,                   )
                                                        )
   vs.                                                  )
                                                        )
   (1) ABERDEEN ENTERPRIZES II, INC.,                   )
   AN OKLAHOMA CORPORATION, ET AL.,                     )
                                                        )
                          Defendants.                   )

         RESPONSE TO PLAINTIFFS’ “MOTION TO ENTER A SCHEDULING
          ORDER AND OPEN DISCOVERY” OF DEFENDANTS BOARD OF
            COUNTY COMMISSIONERS OF THE COUNTY OF ROGERS,
       SHERIFF SCOTT WALTON (OFFICIAL/INDIVIDUAL CAPACITIES), AND
     FORMER COURT CLERK KIM HENRY (OFFICIAL/INDIVIDUAL CAPACITIES)

    Respectfully submitted,

    Thomas A. LeBlanc, OBA #14768                            Scott B. Wood, OBA #12536
    W. Caleb Jones, OBA #33541                               WOOD, PUHL & WOOD, PLLC
    BEST & SHARP                                             2409 E. Skelly Drive, Suite 200
    One West Third Street                                    Tulsa, Oklahoma 74105
    Williams Center Tower I, Suite 900                       (918) 742-0808
    Tulsa OK 74103                                           (918) 742-0812
    (918) 582-1234 Telephone                                 okcoplaw@aol.com
    (918) 585-7447 Facsimile                                 Attorney for Kim Henry, individual
    tleblanc@bestsharp.com                                   capacity
    wcjones@bestsharp.com
    Attorneys for Defendants,
    Scott Walton, Sheriff of Rogers County,in his official
    and individual capacity; and Board of County
    Commissioners of Rogers County, Oklahoma; and
    Kim Henry, official capacity only



   September 18, 2020
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 2 of 29




                                                   TABLE OF CONTENTS

   I.     FACTS                ......................................................................................................................1

   II.    ARGUMENTS AND AUTHORITIES.............................................................................6

          A.        Legal Standards ........................................................................................................6

          B.        Discovery Should Not be Permitted While Qualified and Absolute
                    Immunity Defenses Remain Undecided ..................................................................7

                    1.         The Discovery Will be Extensive, Onerous and in Conflict with
                               Immunity Defenses ....................................................................................10

                    2.         If an Interlocutory Appeal is Taken, the District Court is Divested
                               of Jurisdiction Over Those Aspects of The Case Involved in the
                               Appeal ........................................................................................................14

          C.        Discovery Should Not be Opened When The Court Has Not Yet Ruled on
                    The Motions to Dismiss .........................................................................................16

          D.        The Stay Factors Do Not Favor Opening Discovery .............................................16

                    1.         Plaintiffs’ Interests and Potential Prejudice ...............................................17

                    2.         The Burden Imposed on Defendants..........................................................18

                    3.         The Convenience to the Court ...................................................................19

                    4.         Burden Imposed on Non-Parties ...............................................................19

                    5.         Public Interest ............................................................................................20

   III.   CONCLUSION ................................................................................................................21




                                                                        i
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 3 of 29




                                                 TABLE OF AUTHORITIES

   Cases                                                                                                                           Page

   Anderson v. Creighton,
         483 U.S. 635 (1987) .............................................................................................................8

   Ashcroft v. Iqbal,
          556 U.S. 662 (2009) ...............................................................................................6, 8, 9, 12

   Bryson v. Gonzales,
          534 F.3d 1282 (10th Cir. 2008) ............................................................................................8

   B.T. v. Davis,
           557 F. Supp.2d 1262 (D.N.M. 2007) ...................................................................................9

   Codero v. Froats,
         2015 WL 12862514 (D.N.M. 2015) ..................................................................................19

   Curtin v. United Airlines, Inc.,
          274 F.3d 88 (D.C. Cir. 2001) .........................................................................................6, 16

   Dalton v. Town of Silver City,
          2019 WL 1428363 (D.N.M. 2019) ................................................................................9, 14

   Filarsky v. Delia,
          566 U.S. 377 (2012) ...........................................................................................................17

   General Telephone Company of Southwest v. Falcon,
         457 U.S. 147 (1982) ...........................................................................................................11

   Gomez v. Toledo,
         446 U.S. 635 (1980) .............................................................................................................8

   Green v. Whetsel,
          166 Fed. Appx. 375 (10th Cir. 2006) ..................................................................................20

   Grossman v. City of Portland,
         33 F.3d 1200 (10th Cir. 1994) ...........................................................................................15

   Jamieson v. Vatterott Educ. Centers, Inc.,
         259 F.R.D. 520 (D. Kan. 2009)....................................................................................10, 16

   K.D by Nipper v. Harrison Sch. Dist. Two,
          2018 WL 10808848 (D. Colo. 2018) .............................................................................6, 16



                                                                      ii
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 4 of 29




   Kehoe v. Fidelity Federal Bank & Trust,
         421 F.3d 1209 (11th Cir. 2005) ............................................................................................7

   Krell v. Queen Anne’s County,
           2020 WL 416975 (D. Md. 2020) .......................................................................................18

   Loumiet v. United States,
         315 F. Supp. 3d 349 (D.D.C. 2018) ...............................................................................6, 10

   McCauley v. Halliburton,
        413 F.3d 1158 (10th Cir. 2005) ..........................................................................................14

   Messerschmidt v. Millender,
         132 S. Ct. 1235 (2012) .........................................................................................................7

   Meyers By & Through Meyers v. Bd. of Educ. of San Juan Sch. Dist.,
         905 F. Supp. 1544 (D. Utah 1995) .....................................................................................16

   Mitchell v. Forsyth,
          472 U.S. 511 (1985) .......................................................................................................8, 10

   O’Shea v. Littleton,
         414 U.S. 488 (1974) ...........................................................................................................17

   Pfuetz v. State of Kansas,
           2010 WL 3718836 (D. Kan. 2010) ......................................................................................9

   Reed v. Bowen,
          849 F.2d 1307 (10th Cir. 1988) ..........................................................................................11

   Siegert v. Gilley,
           500 U.S. 226 (1991) .............................................................................................................8

   Stewart v. Donges,
          915 F.2d 572 (10th Cir. 1990) ......................................................................................14, 15

   Taylor v. Jaquez,
          126 F.3d 1294 (10th Cir. 1997) ..........................................................................................20

   Tenorio v. Pitzer,
          2013 WL 12178001 (D.N.M. 2013) ....................................................................................9

   Trevizo v. Adams,
          455 F.3d 1155 (10th Cir. 2006) ...........................................................................................11




                                                                      iii
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 5 of 29




   Walker v. City of Orem,
         451 F.3d 1139 (10th Cir. 2006) .............................................................................................8

   Wedel v. Craig,
          2010 WL 2545974 (D. Kan. 2010) ......................................................................................9


   Statutes

   19 O.S. §§514, 516, 518 ................................................................................................................15

   19 O.S. §514.4 ...............................................................................................................................18

   28 O.S. §151 ................................................................................................................................15


   Other

   Fed. R. Civ. P. 23(a)(1)-(4) ............................................................................................................11

   Fed. R. Civ. Proc. 23(b)(1)-(3) ......................................................................................................11

   State of Oklahoma v. Graff, Carly Michelle, Case No. TR-2017-1672 .........................................17




                                                                         iv
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 6 of 29




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1)     CARLY GRAFF,                                 )
                                                        )
   On behalf of themselves and all others               )
   similarly situated,                                  )       Case No. 17-CV-00606-TCK-JFJ
                                                        )       (Complaint - Class Action)
                          Plaintiffs,                   )
                                                        )
   vs.                                                  )
                                                        )
   (1) ABERDEEN ENTERPRIZES II, INC.,                   )
   AN OKLAHOMA CORPORATION, ET AL.,                     )
                                                        )
                          Defendants.                   )

            RESPONSE TO PLAINTIFFS’ “MOTION TO ENTER A SCHEDULING
             ORDER AND OPEN DISCOVERY” OF DEFENDANTS BOARD OF
               COUNTY COMMISSIONERS OF THE COUNTY OF ROGERS,
          SHERIFF SCOTT WALTON (OFFICIAL/INDIVIDUAL CAPACITIES), AND
        FORMER COURT CLERK KIM HENRY (OFFICIAL/INDIVIDUAL CAPACITIES)

           COME NOW Defendants Board of County Commissioners of County of Rogers; Sheriff

   Scott Walton (official and individual capacities); and Former Rogers County Court Clerk Kim

   Henry (official and individual capacities), and, per the Court’s recent Minute Order, [Dkt. #333],

   hereby file this Response to Plaintiffs’ Motion to Enter a Scheduling Order and Open Discovery.

   As discussed below, Defendants request the Court deny Plaintiffs’ Motion.

   I.      FACTS

   1.      On November 2, 2017, Plaintiff Ira Wilkins filed a 161-paragraph “Class Action

           Complaint” against seventy-nine (79) Defendants, including claims against certain

           Defendants in their individual capacities. (Dkt. #1). In that document, Plaintiff sought a

           declaratory judgment; a preliminary and permanent injunction; compensatory damages;

           treble and punitive damages; and attorney fees and costs. (Dkt. #1 at p. 63).




                                                    1
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 7 of 29




   2.    On February 1, 2018, Plaintiffs filed their Amended Complaint, which added six (6)

         additional Plaintiffs. (Dkt. #76). In addition, Plaintiffs’ allegations expanded to three-

         hundred and thirty-three (333) paragraphs. (Id.).

   3.    On the same date, Plaintiffs filed a Motion for Temporary Restraining Order and Motion

         for Class Certification. (Dtk. #77, 78).

   4.    The Motion for Class Certification contained four (4) proposed classes, including an

         “Aberdeen Class,” “Damages Class,” “Tulsa Court Debt Class,” and “Rogers Court Debt

         Class.” (Dkt. #78 at p. 6-7).

   5.    Thereafter, all Defendants filed Motions to Dismiss raising numerous and substantial legal

         arguments in response to Plaintiff’s various claims. (Dkt. #95, 99, 175, 176, 177, 178, 179,

         180, 181, 182, 183, 184, 185).

   6.    Certain Defendants raised immunity defenses, including absolute and qualified immunity.

         The immunity defenses were not trivial or insubstantial. Sheriff Walton and Clerk Henry,

         for instance, argued that they were entitled to absolute immunity for any claims related to

         service of court process and that Plaintiffs had otherwise failed to state a violation of their

         constitutional rights (since Defendants were not involved in the arrest or detention of any

         named Plaintiff and because no Plaintiff associated with Rogers County had, in fact, been

         arrested or detained for failure to pay outstanding fines and costs); that any right at issue

         was not clearly-established; and that Defendants reasonably relied upon duly-enacted

         statutes and an Order from the Oklahoma Supreme Court. (Dkt. #178 at p. 6-14).

   7.    On March 9, 2018, the parties filed a Joint Status Report, wherein Defendants again

         asserted their qualified immunity and absolute immunity defenses and objected to

         discovery while motions to dismiss were pending. (Dkt. #156).



                                                    2
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 8 of 29




   8.    Defendants also did not concede that jurisdiction was appropriate in this Court. (Id.).

   9.    In the Joint Status Report, Plaintiffs proposed one year of discovery on both “class and

         merits-based issues.” (Id.).

   10.   Plaintiffs claimed they only needed to take 25 depositions, and Defendants each sought 25

         depositions. (Id.).

   11.   On March 26, 2018, the Court found good cause for delaying issuance of the scheduling

         order in light of the pendency of the Motion for Preliminary Injunction and the Motions to

         Dismiss. (Dkt. #186) (“[T]he Court finds good cause for delay in issuing a scheduling

         order in this case, as Plaintiffs have filed a Motion for Preliminary Injunction . . and

         Defendants have filed Motions to Dismiss . . . which should first be resolved.”).

   12.   Thereafter, Plaintiffs sought an extension of time to respond to Defendants’ Motions to

         Dismiss, which the Court granted. (Dkt. #200-201).

   13.   However, instead of responding to Defendants’ Motions to Dismiss, Plaintiffs thereafter

         requested the Court deny Defendants’ Motions to Dismiss as moot so that Plaintiffs could

         file a Second Amended Complaint. (Dkt. #202).

   14.   Certain Defendants vehemently opposed Plaintiffs’ Motion to Amend. (Dkt. #204, 205,

         206, 207, 208, 209, 210).

   15.   Three months later, on September 20, 2018, the Court issued its Opinion and Order

         granting Plaintiffs leave to file their Second Amended Complaint. (Dkt. #211). The Court

         rejected Defendants’ arguments and noted that the Second Amended Complaint “refine[d]

         the allegations and will allow the Court to decide future motions based on substantive

         issues.” (Id. at p. 9).




                                                  3
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 9 of 29




   16.   Plaintiffs filed their Second Amended Complaint on September 21, 2018, adding one new

         Plaintiff and expanding their allegations to three-hundred and seventy-two (372)

         paragraphs. (Dkt. #212).

   17.   Plaintiffs again requested a variety of relief, including declaratory, compensatory, and

         injunctive relief, and requesting class certification. (Id.).

   18.   Defendants filed their Motions to Dismiss thereafter, raising significant legal arguments

         supporting dismissal of Plaintiff’s claims, and again asserting qualified and absolute

         immunity defenses. (Dkt. #226-239).

   19.   Plaintiffs sought leave to file a 150-page consolidated brief in response to all Defendants,

         but Defendants objected. (Dkt. #248-250).

   20.   Rogers County Defendants pointed out that the proposal was prejudicial to Defendants,

         who were entitled to understand Plaintiff’s arguments against each Defendant. (Dkt. #250).

   21.   Defendants also pointed out the qualified immunity defenses at stake, and argued that

         Defendants were entitled to understand which constitutional right they allegedly violated;

         that any order denying qualified immunity was immediately appealable; and that the

         Court’s ultimate findings and conclusions would form an important part of the basis for

         appellate review. (Dkt. #250 at p. 4).

   22.   The Court denied Plaintiff’s Motion to File Consolidated Briefing. (Dkt. #259). The Court

         noted that it “remains particularly concerned with judicial economy in light of the many

         pending Motions to Dismiss.        Accordingly, the Court urges Plaintiffs to limit their

         Responses to the precise legal issues addressed in the relevant Motion to Dismiss, and to

         avoid duplicative briefing.” (Dkt. #259).

   23.   Plaintiffs filed their Response Briefs on November 30, 2018. (Dkt. # 267-279).



                                                    4
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 10 of 29




    24.   Defendants filed their Reply Briefs on December 21, 2018. (Dkt. # 283-295).

    25.   The Motions to Dismiss have been pending since that time.

    26.   On August 24, 2020, Plaintiffs filed an opposed Motion to Enter a Scheduling Order and

          Open Discovery. (Dkt. #323).

    27.   On August 26, 2020, and before Defendants were allowed to respond, the Court issued a

          minute order finding that “good cause” existed to lift the stay of discovery and directing

          the parties to submit “a Joint Scheduling Order regarding the Motion for Class Certification

          (Doc. 78) within twenty (20) days of the date of this order.” (Dkt. #324).

    28.   The Court also referred Plaintiff’s Motion for Preliminary Injunction to Magistrate Judge

          Jayne for findings and recommendations pursuant to 28 U.S.C. §636(B). (Dkt. #325).

    29.   Thereafter, counsel for certain Defendants reached out to Plaintiffs’ counsel to inquire as

          to the scope of Plaintiffs’ proposed discovery on class issues.

    30.   Plaintiffs’ counsel did not respond to those requests. (Dkt. #324).

    31.   On September 8, 2020, and thereafter, various Defendants filed motions to reconsider

          and/or motions to vacate, pointing out that they did not get a chance to respond to the

          Motion to Enter Scheduling Order and Open Discovery. (Dkt. #328, 329, 330, 331, 332).

    32.   On the morning of September 11, 2020, counsel for Defendants and Plaintiffs had a

          conference call pursuant to the Court’s minute order, (Dkt. #324), wherein the parties could

          not agree on any procedure for discovery in light of the pending motions to reconsider and

          motions to dismiss.

    33.   Nevertheless, Plaintiffs’ counsel indicated (1) they believed, per the Court’s minute order,

          the Court had allowed both merits and class discovery to go forward; (2) they planned to




                                                   5
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 11 of 29




           request one year of discovery for such matters; and (3) they planned to issue discovery

           requests to Defendants on that very day (September 11, 2020) or soon thereafter.

    34.    In the afternoon of September 11, 2020, the Court granted Defendants’ motions to

           reconsider and/or vacate and directed Defendants to respond to Plaintiffs’ Motion to Enter

           Scheduling Order and Open Discovery on or before September 18, 2020. (Dkt. #333).

    II.    ARGUMENTS AND AUTHORITIES

           A.      Legal Standards

           While the Court retains control over scheduling and discovery orders, that discretion is not

    unbridled in the context of immunity defenses. For instance, one court has held that traditional

    considerations (regarding a stay of a trial court’s decision) do not apply in the context of qualified

    or absolute immunity defenses. See Loumiet v. U.S., 315 F. Supp. 3d 349, 352 (D.D.C. 2018)

    (noting the “Supreme Court’s specific guidance regarding discovery during resolution of qualified

    immunity issues” and that the “Supreme Court urges caution where discovery may entangle

    individuals potentially protected by qualified immunity”).           This is because the normal

    presumptions on this issue are reversed in the context of qualified immunity. Stays are not favored

    in civil litigation, but they are encouraged (if not required) in the context of certain qualified and

    absolute immunity defenses. E.g., Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009) (discussed infra).

           In addition, the Court has discretion to stay proceedings, including class certification

    proceedings, until resolution of pending motions to dismiss. See K.D by Nipper v. Harrison Sch.

    Dist. Two, 2018 WL 10808848, at 2 (D. Colo. 2018) (“[T]he Court acknowledges the efficiency

    and fairness of delaying the proceedings pending resolution of a motion to dismiss that could

    resolve this matter in its entirety.”); Curtin v. United Airlines, Inc., 275 F.3d 88, 92-93 (D.C. Cir.

    2001) (holding “where . . . the plaintiffs’ claims can be readily resolved on summary judgment,



                                                      6
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 12 of 29




    where the defendant seeks an early disposition of those claims, and where the plaintiffs are not

    prejudiced thereby, a district court does not abuse its discretion by resolving the merits before

    considering the question of class certification.”); see also Kehoe v. Fidelity Federal Bank & Trust,

    421 F.3d 1209, 1211 (11th Cir. 2005) (court may decide dispositive motions prior to certification).

            This Court has indicated that stays may be appropriate “where the case is likely to be finally

    concluded as a result of the ruling thereon; where the facts sought through uncompleted discovery

    would not affect the resolution of the motion, or where discovery on all issues of the broad

    complaint would be wasteful and burdensome.” Stephenson Oil Co. v. Citgo Petroleum Corp.,

    2008 WL 5412816, at 2 (N.D. 2008). The Court also may consider other factors, including (1)

    plaintiff’s interests in proceeding expeditiously with the civil action and the potential prejudice to

    plaintiff of a delay; (2) the burden on the defendants; (3) the convenience to the court; (4) the

    interests of persons not parties to the civil litigation; and (5) the public interest. Id.

            B.      Discovery Should Not Be Permitted While Qualified and Absolute
                    Immunity Defenses Remain Undecided

            First, the qualified and absolute immunity defenses remain pending before the Court.

    Plaintiffs did not mention this issue in their Motion to Enter Scheduling Order and Open

    Discovery, (Dkt. #323), and therefore did not provide the Court with any advice regarding how to

    manage discovery while absolute and qualified immunity defenses remain unadjudicated. Because

    Plaintiffs’ motion did not address the issue, it was not based on the appropriate legal standards.

            “The doctrine of qualified immunity protects government officials from liability for civil

    damages insofar as their conduct does not violate clearly established statutory or constitutional

    rights of which a reasonable person would have known.” Messerschmidt v. Millender, 132 S. Ct.

    1235, 1244 (2012) (internal quotation marks and citations omitted). “[D]amages suits against

    government officials can entail substantial social costs, including the risk that fear of personal

                                                        7
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 13 of 29




    monetary liability and harassing litigation will unduly inhibit officials in the discharge of their

    duties.” Anderson v. Creighton, 483 U.S. 635, 638 (1987). In Mitchell v. Forsyth, 472 U.S. 511,

    526 (1985), the Court stated:

           Harlow thus recognized an entitlement not to stand trial or face the other burdens
           of litigation, conditioned on the resolution of the essentially legal question whether
           the conduct of which the plaintiff complains violated clearly established law. The
           entitlement is an immunity from suit rather than a mere defense to liability;
           and like an absolute immunity, it is effectively lost if a case is erroneously
           permitted to go to trial.

    Id. at 526 (bold added).

           When qualified immunity has been invoked, discovery should be stayed until the defense

    has been resolved, including through an appeal. 1 “Until this threshold immunity question is

    resolved, discovery should not be allowed . . . One of the purposes of immunity, absolute or

    qualified, is to spare a defendant not only unwarranted liability, but unwarranted demands

    customarily imposed upon those defending a long drawn out lawsuit.” See Siegert v. Gilley, 500

    U.S. 226, 231 (1991) (citing Gomez v. Toledo, 446 U.S. 635 (1980)). And, “[t]he very purpose of

    [an] interlocutory appeal” in qualified immunity cases “is ‘to spare [official defendants] from the

    ordeal of discovery if the complaint fails to allege a constitutional violation or if the alleged

    violation was not clearly established.’” Bryson v. Gonzales, 534 F.3d 1282, 1287 (10th Cir. 2008).

           In Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009), the Court reiterated that the “basic thrust of

    the qualified-immunity doctrine is to free officials from the concerns of litigation, including

    ‘avoidance of disruptive discovery.’” The Court further noted that all discovery should generally

    be stayed, even discovery against defendants who are not asserting a qualified immunity defense:



           1
              As discussed infra, when an interlocutory appeal is filed, the district court is divested of
    jurisdiction over matters involved in the appeal. See Walker v. City of Orem, 451 F.3d 1139, 1146
    (10th Cir. 2006) (“The filing of the notice of appeal was an event of jurisdictional significance,
    which divested the district court from granting further relief concerning the issues on appeal.”).
                                                      8
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 14 of 29




           If a Government official is to devote time to his or her duties, and to the formulation
           of sound and responsible policies, it is counterproductive to require the substantial
           diversion that is attendant to participating in litigation and making informed
           decisions as to how it should proceed. Litigation, though necessary to ensure that
           officials comply with the law, exacts heavy costs in terms of efficiency and
           expenditure of valuable time and resources that might otherwise be directed to the
           proper execution of the work of the Government.
           ...
           It is no answer to these concerns to say that discovery for petitioners can be deferred
           while pretrial proceedings continue for other defendants. It is quite likely that,
           when discovery as to the other parties proceeds, it would prove necessary for
           petitioners and their counsel to participate in the process to ensure the case does not
           develop in a misleading or slanted way that causes prejudice to their position. Even
           if petitioners are not yet themselves subject to discovery orders, then, they would
           not be free from the burdens of discovery.

    Id. at 685-686; see also Tenorio v. Pitzer, 2013 WL 12178001, at 3 (D.N.M. 2013) (“However,

    after Iqbal, the law is clear that discovery should be stayed upon assertion of qualified immunity,

    even for those defendants not asserting the defense.”); B.T. v. Davis, 557 F. Supp.2d 1262, 1286

    (D.N.M. 2007) (“Once the qualified immunity defense has been raised, the Court must not let a

    plaintiff use discovery as a fishing expedition to flesh out the merits of his claim.”); Dalton v.

    Town of Silver City, 2019 WL 1428363, at 3 (D.N.M. 2019) (citing Iqbal and noting that “once a

    single defendant raises the issue of qualified immunity in a dispositive motion, discovery for all

    defendants should generally be stayed”). 2

           Because immunity defenses remain pending – and are currently unadjudicated – the Court

    should reject Plaintiff’s motion to open discovery in this matter. The immunity at issue is one

    from suit, not merely one from liability. See Mitchell, supra. Said Defendants should not be

    required to participate in the litigation process unless and until the Court rules on the qualified and



           2
             The same stay rules apply to an assertion of absolute immunity. See Pfuetz v. State of
    Kansas, 2010 WL 3718836 (D. Kan. 2010) (granting stay where defendants asserted qualified
    immunity/Eleventh Amendment immunity); Wedel v. Craig, 2010 WL 2545974 (D. Kan. 2010)
    (granting stay where parties asserted absolute judicial immunity/Eleventh Amendment immunity).


                                                      9
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 15 of 29




    absolute immunity defenses, and until such time as any (potential) appeals are concluded.

    Subjecting them to extensive discovery on class action issues would be in conflict with basic

    qualified immunity principles. See Loumiet v. U.S., 315 F.Supp.3d 349 (D.D.C. 2018) (noting that

    “any attempt to resolve [discovery disputes] during the pending interlocutory appeal . . . would

    ultimately waste the Court’s and the parties’ resources if they must revisit discovery disputes” after

    the appellate court’s resolution of the immunity issues).

                   1.      The Discovery Will Be Extensive, Onerous and in Conflict with
                           Immunity Defenses

           For instance, the exact scope of the anticipated discovery is unclear, but Defendants

    anticipate that discovery on the class certification issues alone will be time-consuming, expansive,

    expensive and burdensome. Plaintiffs have proposed four (4) different classes, with apparent

    overlap between said classes, including: “Aberdeen Class,” “Damages Class,” “Tulsa Court Debt

    Class,” and “Rogers Court Debt Class.” (Dkt. #78 at p. 6-7). 3 Plaintiffs have defined their

    proposed classes broadly, asserting uniform treatment of the proposed class not only across the 53

    counties named in their lawsuit, but even uniform treatment of court debtors within each county.

    Certification as a class-action requires the class-proponent to establish all of the following

    elements with respect to their multiple proposed classes: 4 (1) the class is so numerous that joinder



           3
               Plaintiffs filed their Motion for Class Certification, (Dkt. #78), with respect to the
    allegations contained in the Amended Complaint. (Dkt. #76). Since that time, Plaintiffs were
    granted leave to file a Second Amended Complaint which changed the nature and scope of their
    allegations and claims. Hence, it is not clear that the Motion for Class Certification is even ripe
    with respect to the allegations contained in the Second Amended Complaint. E.g., Jamieson v.
    Vatterott Educ. Centers, Inc., 259 F.R.D. 520, 526 (D. Kan. 2009) (“As a practical matter, it is
    appropriate to clarify the nature and scope of the pending claims before determining their
    suitability for class action treatment.”). Indeed, Plaintiffs have re-labeled their proposed classes
    and have added new parties to the classes. Compare Dkt. # 76 at ¶200 with Dkt. #212 ¶216.
           4
            Plaintiffs bear the evidentiary burden on each of the elements to establish certification.
    General Telephone Company of Southwest v. Falcon, 457 U.S. 147, 152 (1982). Certification is
                                                     10
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 16 of 29




    of all members is impracticable (numerosity); (2) there are questions of law or fact common to the

    class (commonality); (3) the claims or defenses of the representative parties are typical of the

    claims or defenses of the class (typicality); and (4) the representative parties will fairly and

    adequately protect the interests of the class (adequacy). See Fed. R. Civ. P. 23(a)(1)-(4). The

    proponent must also show at least one element from Fed. R. Civ. Proc. 23(b)(1)-(3).

           Discovery will be required on all of these issues. In the Rogers Court Debt Class alone,

    Plaintiffs have alleged seven (7) common issues of law and seven (7) common issues of law, as

    well as asserting that the commonalities listed are non-exhaustive. (Dkt. #78 at 8-12). They allege

    as many as twenty-two (22) common issues of fact and law for other classes and devote four (4)

    pages of their brief in support of certification to making such allegations. (Id.). To satisfy their

    heavy burden, it is likely that Plaintiffs will have to inquire into the circumstances of nearly every

    failure-to-pay arrest and warrant across every county of the State. Plaintiffs will also be required

    to conduct discovery on the practices employed in the various jurisdictions involved in this case.

    Defendants anticipate Plaintiffs will propound extensive written discovery on all Defendants and

    will seek to conduct a large number of depositions to support their class action certification quest.

    Defendants would likewise be required to propound discovery on all Plaintiffs and to conduct

    numerous depositions. This discovery, propounded on individual Defendants, would be onerous

    and extensive, and would impinge on the immunity rights clearly provided to those Defendants.

           And, as noted in Iqbal, it is “no answer” to say that discovery can be stayed with respect

    to the individual Defendants (who are entitled to immunity defenses) and yet proceed against other



    only appropriate if “the trial court is satisfied, after a rigorous analysis, that the perquisites of
    Rule 23(a) have been satisfied.” Id. at 161 (bold added). If Plaintiffs wish to maintain their broad
    class definitions, they must “show, ‘under a strict burden of proof’ that all four requirements are
    clearly met.” Trevizo v. Adams, 455 F.3d 1155, 1162 (10th Cir. 2006) (quoting Reed v. Bowen, 849
    F.2d 1307, 1309 (10th Cir. 1988)).
                                                     11
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 17 of 29




    Defendants. Individual defendants would be required to participate in those discovery efforts in

    order to ensure that discovery does not proceed in a “slanted” way, Iqbal, 556 U.S. at 685, and to

    be informed about the manner in which the litigation and discovery are progressing. The problem

    is particularly acute in the present case for several reasons. First, Plaintiffs have sued numerous

    Defendants concerning the State’s failure-to-pay program and, as evidenced by their multiple

    amended complaints, have had difficulty articulating where any alleged constitutional violation

    occurred. Hence, if discovery proceeds on all of Plaintiff’s claims, the individual Defendants have

    a legitimate basis for participating in same, i.e., to ensure discovery progresses in an appropriate

    way and/or in protecting their interests during the course of that discovery. Hence, “[e]ven if

    [defendants] are not yet themselves subject to discovery orders . . . they would not be free from

    the burdens of discovery.” See Iqbal, 556 U.S. at 685-86.

            Second, and relatedly, Plaintiffs claim that the Sheriff-Defendants, in their individual

    capacities, were in a RICO conspiracy with other named Defendants. Plaintiffs claim that these

    Defendants engaged in a “RICO enterprise,” which functioned as a “continuing unit.” (Dkt. #212

    at ¶¶ 274-290). According to Plaintiffs, Defendants engaged in “extortionate activities” and

    “continue to engage in these racketeering acts, and pose a continuous threat of engaging in

    racketeering acts.” (Dkt. #212 at ¶¶282, 286). It would be anomalous for the Court to allow class

    discovery with respect to certain alleged participants in this “RICO enterprise,” but to stay

    discovery with respect to other Defendants because of their immunity defenses. Discovery should

    not be permitted with respect to certain Defendants when other participants in this alleged RICO

    conspiracy have legitimate claims to immunity – claims that have not been resolved by this Court

    (or by an appellate court) at this point.




                                                    12
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 18 of 29




           Third, aside from class discovery, the parties would be required to conduct discovery on

    the ten (10) claims asserted by Plaintiffs in their 102-page Second Amended Petition – claims that

    challenge Oklahoma’s statutory system for the collection of fines and fees associated with criminal

    convictions. (Dkt. #212). These include:

           (1) RICO, 18 U.S.C. §1962(c) and (d);

           (2) Fourteenth Amendment (“Seeking, Issuing and Executing Debt-Collection
               Warrants Based Solely on Non-Payment Without Inquiry into Ability, to Pay
               Violates Plaintiffs’ Rights Under the Fourteenth Amendment”);

           (3) Fourteenth Amendment (“Seeking, Issuing, and Executing Debt-Collection
               Arrest Warrants Based Solely on Unsworn Allegations of Nonpayment Containing
               Material Omissions Violates Plaintiffs’ Rights Under the Fourth Amendment”);

           (4) Fourteenth Amendment (“Detaining Persons Arrested on Debt-Collection Arrest
               Warrants Because of an Inability to Pay Violates Plaintiffs’ Rights Under the
               Fourteenth Amendment”);

           (5) “State-Created Liberty Interests” (“Jailing Debtors Without Proof of
               Willfulness Without Notice and a Hearing Violates Their State-Created Liberty
               Interests”);

           (6) Due Process (“Aberdeen, Inc.’s Role in Collecting Court Debts and Requesting
               and Recalling Arrest Warrants Violates the Due Process Clause”);

           (7) Fourteenth Amendment (“Defendants’ Policy and Practice of Subjecting
               Individuals Who Owe Court Debt to Onerous Collection Enforcement Methods
               Violates the Fourteenth Amendment”);

           (8) Abuse of Process. (“The Practice of Using Arrest Warrants to Coerce Plaintiffs
               into Making Monetary Payments They Cannot Afford Constitutes Abuse of
               Process”);

           (9) Duress; and

           (10) Unjust Enrichment.

    (Dkt. #212). In short, the broad nature of these claims would require extensive discovery, which

    would impinge upon the immunity defenses discussed herein.



                                                    13
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 19 of 29




                   2.    If an Interlocutory Appeal is Taken, the District Court is Divested of
                         Jurisdiction Over Those Aspects of The Case Involved in the Appeal

           Further, and relatedly, if an appeal is taken from any adverse decision on qualified or

    absolute immunity issues, the district court is divested of jurisdiction to proceed with any part of

    the action against an appealing defendant. See Stewart v. Donges, 915 F.2d 572, 576 (10th Cir.

    1990). In Stewart, the Court held that when an appeal relates to matters dealing with the right of

    a defendant not to have to proceed to trial, e.g., double jeopardy or qualified immunity, the district

    court only retains jurisdiction “over peripheral matters unrelated to the disputed right not to have

    [to] defend the prosecution or action at trial.” 915 F.2d at 576 (emphasis added). 5 The Stewart

    Court distinguished certain appeals (involving isolated issues) from appeals (like those involving

    qualified immunity or double jeopardy) that relate “to the entire action.” The latter divest the

    district court of jurisdiction to proceed with any part of the action against the appealing defendant.

    Id.; see also McCauley v. Halliburton, 413 F.3d 1158 (10th Cir. 2005) (holding appeal from denial

    of arbitration motion divested court of jurisdiction to proceed on merits of underlying claim while

    appeal pending). While it may be possible to identify certain discrete issues that remain within

    the district court’s control, in qualified immunity cases, the “general rule is to stay all proceedings

    against all defendants.” See Dalton v. Town of Silver, 2019 WL 1428363, 3 (D.N.M. 2019).

           In the present case, the Court has not yet ruled on the Motions to Dismiss, so Defendants

    are unaware of the scope of any appeal. However, Defendants have raised immunity defenses.

    Defendants Sheriff Walton and (former) Clerk Henry have argued that they are entitled to absolute

    immunity regarding Plaintiff’s claims concerning service of court process/warrants. (Dkt. #228).




           5
            The district court can regain jurisdiction only by taking the “affirmative step of certifying
    the appeal as frivolous or forfeited, and until that step is taken it simply lacks jurisdiction to
    proceed with the trial.” Stewart, 915 F.2d at 577-578.
                                                      14
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 20 of 29




    As shown previously, court clerks have a statutory duty to charge and collect fines, fees and costs.

    28 O.S. § 151. Sheriffs have the statutory obligation to serve process in civil and criminal cases.

    19 O.S. §§ 514, 516, 518. These statutory obligations are significant and provide Defendants with

    a strong basis for their immunity arguments. See Grossman v. City of Portland, 33 F.3d 1200,

    1209 (10th Cir. 1994) (“[A]n officer who reasonably relies on the legislature’s determination that

    a statute is constitutional should be shielded from personal liability.”). These issues should be

    addressed before invasive and ongoing discovery efforts are undertaken.

           Defendants also argued that they are entitled to qualified immunity because there was no

    underlying constitutional violation related to the arrest and detention of persons for failure to pay;

    because any right at issue was not clearly-established; and because Defendants reasonably relied

    upon duly enacted statutes and an ordinance from the Oklahoma Supreme Court. The other County

    Sheriffs have made similar arguments. (Dkt. #239). Sheriff Regalado has made similar arguments.

    (Dkt. #235). And the Court Clerks and the Tulsa Cost Administrator have made similar arguments.

    (Dkt. #227, 236, 237). These issues go to the heart of Plaintiffs’ claims and, per Stewart, the Court

    would be divested of jurisdiction over such claims during the pendency of an appeal of these

    immunity issues. For those reasons, the Court should reject Plaintiffs’ request to open discovery

    regarding class and merits issues.

           C.      Discovery Should Not Be Opened When The Court Has Not Yet Ruled
                   on The Motions to Dismiss

           Finally, as a practical matter, discovery should not be opened until the Court rules on

    Defendants’ Motions to Dismiss. Those motions raise substantial issues related to subject matter

    jurisdiction, failure to state a claim, absolute immunity, and qualified immunity. (Dkt. #226, 227,

    228). The Court initially found good cause to delay entry of a scheduling order in order for the

    Court to address Defendants’ Motions to Dismiss. (Dkt. #186). The same rationale continues to

                                                     15
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 21 of 29




    hold true. The parties are currently unaware of which claims will go forward and which are subject

    to dismissal. And, as discussed above, the parties are also unaware of the Court’s ruling with

    respect to the qualified and absolute immunity defenses. See K.D by Nipper, 2018 WL 10808848,

    at 2 (“[T]he Court acknowledges the efficiency and fairness of delaying the proceedings pending

    resolution of a motion to dismiss that could resolve this matter in its entirety.”). For those reasons,

    a stay is appropriate because certain claims may be finally resolved by the Court’s ruling on the

    Motions to Dismiss and because broad discovery on all issues would be wasteful and burdensome

    in light of the arguments presented in Defendants’ Motions to Dismiss.

            In addition, Plaintiffs have proposed to certify four “classes,” which involve, in one form

    or another, the ten (10) claims asserted against sixty-six (66) Defendants. (Dkt. #212). It is

    common, and often preferable, for the Court to rule on motions to dismiss before assessing class

    arguments in order to “spare[] both parties and the court a needless, time-consuming inquiry into

    certification.” See Curtin v. United Airlines, 274 F.3d 88, 92 (D.C. Cir. 2001). Indeed, as “a

    practical matter, is appropriate to clarify the nature and scope of the pending claims before

    determining their suitability for class action treatment.” See Jamieson v. Vatterott, 259 F.R.D.

    520, 526 (D. Kan. 2009). The Court has discretion to determine the most appropriate point in the

    proceedings for certification. Meyers v. Bd. of Educ. of San Juan Sch. Dist., 905 F. Supp. 1544,

    1578 (D. Utah 1995) (“The court believes that a ruling on the issue of class certification is

    premature in this case where further discovery and factual development may narrow the issues and

    affect the definitions of the putative class or classes.”).

            D.      The Stay Factors Do Not Favor Opening Discovery

            Plaintiffs argue that the stay should be lifted because of the various factors outlined for

    lifting a stay in a traditional civil case, as identified above. Plaintiffs’ arguments are without merit:



                                                       16
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 22 of 29




                   1.      Plaintiffs’ Interests and Potential Prejudice

           Plaintiffs argue that they continue to suffer the “risk” of harassment, threats, and detention

    because of poverty. However, Plaintiffs have cited no instance during the stay period where any

    Plaintiff has suffered any actual detention or arrest for failure to pay. To the contrary, the primary

    named Plaintiff (Carly Graff) has now paid her outstanding fines and costs, leaving substantial

    questions about whether she even is a proper party to this case. 6 Further, the mere “fear” of being

    required to pay a duly imposed fine does not state a constitutional violation. In fact, it does not

    even amount to a state-law tort. E.g., Dkt. #228 at 14 n.9.

           Plaintiffs also argue that economic uncertainty plagues the country and that unemployment

    has “reached record levels,” but Plaintiffs fail to show how those general arguments justify

    Plaintiffs’ need for immediate and invasive class discovery. Plaintiffs certainly fail to show how

    those facts justify invasive discovery against numerous government officials who, themselves, are

    navigating the difficulties associated with the ongoing pandemic. Qualified immunity is designed,

    in part, to protect against “the distractions that can accompany even routine lawsuits.” E.g.,

    Filarsky v. Delia, 566 U.S. 377, 391 (2012). This lawsuit is far from routine, but challenges the

    entirety of this State’s legislatively-sanctioned failure-to-pay and misdemeanor warrant collection

    process, including related orders from the Oklahoma Supreme Court. E.g., 19 O.S. §514.4 et seq.

           Plaintiffs complain that they might suffer “evidentiary prejudice” due to the passage of

    time, but this argument is speculative in nature. The underlying criminal records (related to fines,




           6
              See State of Oklahoma v. Graff, Carly Michelle, Case No. TR-2017-1672. In that regard,
    see O’Shea v. Littleton, 414 U.S. 488 (1974) (finding plaintiffs in class action failed to allege actual
    case or controversy because named plaintiffs had not suffered injury from alleged illegal bond-
    setting, sentencing and jury-fee practices).
                                                      17
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 23 of 29




    fees and costs) are public records and recorded on public dockets. They will not disappear. And,

    there is no basis to conclude that evidence or witnesses will disappear if the stay remains in place.

                   2.      The Burden Imposed on Defendants

           Plaintiffs claim that Defendants will suffer no prejudice if required to participate in

    discovery. But, Plaintiffs can only make this argument by ignoring the immunity defenses

    referenced above. See Krell v. Queen Anne’s County, 2020 WL 416975 (D. Md. 2020) (finding

    that potential loss of qualified immunity rights supports stay of discovery) (“This potential for

    irreparable loss supports granting a stay.”). Sheriff Walton and Court Clerk Henry do not just have

    an “interest” in avoiding discovery. Rather, Defendants contend that they are immune from such

    discovery. This potential loss of such immunity – i.e., caused by participation in the discovery

    process – constitutes a special burden justifying a stay of discovery until such time as the immunity

    issue is resolved by this Court and/or by an appellate court.

           As noted above, the discovery burdens in this case will be enormous. Plaintiffs have sued

    62 government actors and/or entities. (Dkt. #212). Plaintiffs have pursued numerous claims (some

    overlapping; some discrete) against all Defendants. Plaintiffs will propound numerous discovery

    requests on all Defendants and will seek to take numerous depositions. Plaintiffs will seek both

    class discovery and merits discovery at the same time. Defendants, in turn, will be forced to

    conduct similar discovery on all issues in the case. Hence, Plaintiffs’ argument that there would

    be no “special burden” placed on Defendants by opening discovery is incorrect and, frankly, quite

    unreasonable. Such an argument can only be made by ignoring the true nature of Plaintiff’s legal

    theories and the amount and type of discovery that would be necessary to support such claims.




                                                     18
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 24 of 29




                   3.      The Convenience to the Court

           Plaintiffs claim that opening discovery is “in the interest of convenience to the Court”

    because it will prevent the Court from assessing “evidentiary gaps.” But, in reality, the Court

    would be better suited to address discovery and evidentiary issues after the Court rules on the

    Motions to Dismiss and after immunity defenses are resolved. Otherwise, the Court will be forced

    to litigate this case in piecemeal fashion. E.g., Codero v. Froats, 2015 WL 12862514, 1 (D.N.M.

    2015) (staying action in light of qualified immunity appeal because the “Court does not want to

    proceed piecemeal on this case”). The Court’s ruling would resolve whether certain Defendants

    will be dismissed from the case, and would impact ongoing issues related to (1) the putative

    classes; (2) the common issues of fact; and (3) the common issues of law. Indeed, the Court’s

    ruling may dramatically affect the scope of discovery. It would be disruptive to the parties and the

    Court to oversee a (potentially) contentious multi-year discovery process only for the Court to later

    rule that some or all defendants are entitled to some form of immunity. This factor counsels against

    proceeding in a piecemeal fashion.

                   4.      Burden Imposed on Non-Parties

           Plaintiffs claim that a lift on the stay would benefit non-parties because the lawsuit, if

    successful, would apparently benefit family members of putative class members. Plaintiffs’

    counsel claim that an unidentified person contacted them about her daughter, who owed

    outstanding costs and fees per some unidentified Oklahoma law violation. Defendants are unable

    to respond to hearsay allegations about unidentified persons unaffiliated with this lawsuit.

    Plaintiffs, of course, do not mention the valid interest of the State in the execution of its criminal

    laws. That is, collection of fines and fees is an important state function, which clearly “implicate[s]

    separately articulated state policies.” See Taylor v. Jaquez, 126 F.3d 1294, 1297 (10th Cir. 1997);



                                                      19
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 25 of 29




    see also Green v. Whetsel, 166 Fed. Appx. 375, 376 (10th Cir. 2006) (“Oklahoma has an important

    interest in enforcing its criminal laws through criminal proceedings in the state’s courts.”). This

    interest alone amounts to good cause to keep the stay in place.

                   5.      Public Interest
           Finally, Plaintiffs suggest that the public interest justifies opening discovery because the

    “persistence of a de factor debtors’ prison scheme.” (Dkt. #323). Of course, this is an allegation

    only. Oklahoma does not operate a de facto debtors’ prison. Rather, Plaintiffs have admittedly

    violated Oklahoma law and, among other penalties for said violations, owe fines and fees as a

    result of their unlawful conduct. The public interest is served by those Defendants who voluntarily

    satisfy the terms of their criminal sentences, including their failure-to-pay agreements. Plaintiffs

    concede that a process is available to them (Rule 8) to make arguments about their ability to pay.

    See also Winbush v. State, 433 P.3d 1275 (Okla. Crim. App. 2018) (finding that after State has

    shown probationer failed to make restitution payments, burden shifts to probationer to prove that

    failure to pay was not willful or that he/she has made sufficient bona fide efforts to pay). In their

    Motion to Open Discovery, they ignore that process. Further, the failure-to-pay and misdemeanor

    warrant program has been deemed appropriate by the Oklahoma Legislature, e.g., 19 O.S. §514.4,

    and clearly serves important government interests by providing direction and approval of a

    mechanism by which to collect outstanding court fines, fees and costs. The public interest is not

    served by opening discovery on a process designed to disrupt that system. If successful, it would

    only benefit those who owe fines, fees and costs to the State.




                                                     20
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 26 of 29




    III.   CONCLUSION

           As discussed above, Defendants Sheriff Scott Walton, (former) Court Clerk of Rogers

    County Kim Henry, and Board of County Commissioners of Rogers County respectfully request

    the Court deny Plaintiff’s Motion to Enter Scheduling Order and Open Discovery. As discussed

    above, because numerous Defendants retain qualified and absolute immunity arguments,

    Defendants are entitled to a stay until such time as those defenses are finally adjudicated, including

    through an appeal if necessary. In addition, the opening of discovery is not necessary until such

    time as the Court rules on the Motions to Dismiss and, in light of the serious qualified and absolute

    immunity defenses at stake, the factors governing the opening of discovery do not favor opening

    discovery on class or merits issues at this time.

           WHEREFORE, premises considered, Defendants Scott Walton, Kim Henry, and Board of

    County Commissions of Rogers County respectfully request the Court deny Plaintiff’s Motion to

    Enter Scheduling Order and Open Discovery, and grant any other appropriate relief on these issues.

                                                             Respectfully submitted,

                                                             s/ Thomas A. LeBlanc
                                                             Thomas A. LeBlanc, OBA #14768
                                                             W. Caleb Jones, OBA #33541
                                                             BEST & SHARP
                                                             One West Third Street
                                                             Williams Center Tower I, Suite 900
                                                             Tulsa OK 74103
                                                             (918) 582-1234 Telephone
                                                             (918) 585-7447 Facsimile
                                                             tleblanc@bestsharp.com
                                                             wcjones@bestsharp.com
                                                             Attorneys for Defendants,
                                                             Scott Walton, Sheriff of Rogers County,
                                                             in his official and individual capacity; and
                                                             Board of County Commissioners of Rogers
                                                              County, Oklahoma; and Kim Henry, official
                                                             capacity only



                                                        21
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 27 of 29




                                                        s/ Scott B. Wood
                                                        Scott B. Wood, OBA #12536
                                                        WOOD, PUHL & WOOD, PLLC
                                                        2409 E. Skelly Drive, Suite 200
                                                        Tulsa, Oklahoma 74105
                                                        (918) 742-0808
                                                        (918) 742-0812
                                                        okcoplaw@aol.com
                                                        Attorney for Kim Henry, individual capacity


                                   CERTIFICATE OF MAILING

           I hereby certify that on the 18th day of September, 2020, I electronically transmitted the
    foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a
    Notice of Electronic Filing to the following ECF registrants (names only are sufficient):


           Daniel E Smolen
           danielsmolen@ssrok.com
           Donald E. Smolen
           donaldsmolen@ssrok.com
           Robert M. Blakemore
           bobblakemore@ssrok.com
           Seth T. Wayne
           sw1098@georgetown.edu
           Mary B. McCord
           mbm7@georgetown.edu
           Robert D. Friedman
           rdf34@georgetown.edu
           Elizabeth Rossi
           elizabeth@civilrightscorps.org
           Jill Elizabeth Webb
           Jill.Webb@gmail.com
           Douglas N. Letter, Admitted Pro Hac Vice
           dl1016@georgetown.edu
           Ryan Downer, Admitted Pro Hac Vice
           ryan@civilrightscorps.org
           Marco Lopez, Admitted Pro Hac Vice
           marco@civilrightscorps.org
           Tara Mikkilineni, Admitted Pro Hac Vice
           tara@civilrightscorps.org
           Ryan Downer
           ryan@civilrightscorps.org
           Attorneys for Plaintiffs


                                                   22
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 28 of 29




          Robert E. Applegate
          applegate@cswlawgroup.com
          Attorney for Aberdeen Enterprizes, II, Inc.

          John R Woodard III
          john@csmlawgroup.com
          Attorney for Aberdeen Enterprizes II, Inc.,
          Jim D. Shofner and Rob Shofner


          Jeffrey C. Hendrickson
          jhendrickson@piercecouch.com
          Robert Lamar Betts
          rbetts@piercecouch.com
          April D. Kelso
          akelso@piercecouch.com
          Robert S. Lafferandre
          rlafferandre@piercecouch.com
          Randall J. Wood
          rwood@piercecouch.com
          Attorneys for 52 Sheriff Defendants
          Excluding the Sheriffs of Oklahoma, Rogers
          and Tulsa Counties

          Rodney J. Heggy
          rod.heggy@oklahomacounty.org
          Aaron Etherington
          aaron.etherington@oklahomacounty.org
          Carri A. Remillard
          carri.remallard@oklahomacounty.org
          Attorney for PD Taylor, Oklahoma County Sheriff

          Chris M. Warzecha
          cwarzecha@cwlaw.com
          Isaac Robertson Ellis
          iellis@cwlaw.com
          Melodie Freeman-Burney
          mburney@cwlaw.com
          Robert Dale James
          rob.james@cwlaw.com

          Maurice G. Woods, II
          mauricew@mcateeandwoods.com
          Kelsey A. Chilcoat
          kelseyc@mcateeandwoods.com
          McAtee & Woods, P.C.
          410 N.W. 13th Street

                                                  23
Case 4:17-cv-00606-TCK-JFJ Document 335 Filed in USDC ND/OK on 09/18/20 Page 29 of 29




          Oklahoma City, Ok 73103
          Attorneys for Oklahoma Sheriffs' Association

          Stefanie E. Lawson
          stefanie.lawson@oag.ok.gov
          Attorneys for Judge Dawn Moody, Judge Doug M. Drummond,
          Judge Williams J. Musseman, Jr. and Judge Terrell S. Crosson

          Joel L. Wohlgemuth
          jlw@nwcjlaw.com
          Jo Lynn Jeter
          jlj@nwcjlaw.com
          Douglas A. Wilson
          douglas.wilson@tulsacounty.org
          Barrett L. Powers
          blp@nwcjlaw.com
          Mike Shouse
          mshouse@tulsacounty.org
          Attorneys for Don Newberry, Tulsa County Court Clerk, Vic Regalado, Tulsa County
          Sheriff, Darlene Bailey, Tulsa County Cost Administrator, Board of County
          Commissioners for Tulsa County



                                                         s/ Thomas A. LeBlanc




                                                24
